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Fulton County Superior Court
“*FFILED***QW

Date: 7/3/2017 6:50:28 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONNA CURLING, an individual;
COALITION FOR GOOD
GOVERNANCE, a non-profit corporation
organized and existing under Colorado
Law;

DONNA PRICE, an individual;
JEFFREY SCHOENBERG, an individual;
LAURA DIGGES, an individual;
WILLIAM DIGGES III, an individual;

RICARDO DAVIS, an individual;

Plaintiffs,
Vv. CIVIL ACTION 2017C0V292233

FILE NO.:

BRIAN P. KEMP, in his individual

capacity and his official capacity as

Secretary of State of Georgia and

Chair of the STATE ELECTION BOARD; DEMAND FOR
JURY TRIAL

DAVID J. WORLEY, REBECCA N.
SULLIVAN, RALPH F. “RUSTY”
SIMPSON, and SETH HARP, in their
individual capacities and their official
capacities as members of the STATE
ELECTION BOARD;

THE STATE ELECTION BOARD;

RICHARD BARRON, in his individual
capacity and his official capacity as

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Director of the FULTON COUNTY
BOARD OF REGISTRATION AND
ELECTIONS;

MARY CAROLE COONEY, VERNETTA
NURIDDIN, DAVID J. BURGE, STAN
MATARAZZO and AARON JOHNSON
in their individual capacities and official
capacities as members of the FULTON
COUNTY BOARD OF REGISTRATION
AND ELECTIONS;

THE FULTON COUNTY BOARD OF
REGISTRATION AND ELECTIONS;

MAXINE DANIELS, in her individual
capacity and her official capacity as
Director of VOTER REGISTRATIONS
AND ELECTIONS FOR DEKALB
COUNTY;

MICHAEL P. COVENY, ANTHONY
LEWIS, LEONA PERRY, SAMUEL

E. TILLMAN, and BAOKY N. VU

in their individual capacities and official
capacities as members of the DEKALB
COUNTY BOARD OF REGISTRATIONS
AND ELECTIONS;

THE DEKALB COUNTY BOARD OF
REGISTRATIONS AND ELECTIONS;

JANINE EVELER, in her individual
capacity and her official capacity as
Director of the COBB COUNTY
BOARD OF ELECTIONS AND
REGISTRATION;

PHIL DANIELL, FRED AIKEN, JOE
PETTIT, JESSICA BROOKS, and

mee ee Ne Na ee Ne ee Ne Nee Ne eee Ne ee a ee Ne ee Nae Ne ee ee nee ee et eee ee et a ee ee” a” ee el nee Nee ee”
Case 1:17-cv-02989-AT Document 1-4 Filed 08/08/17 Page 3 of 4

DARRYL O. WILSON in their individual
capacities and official capacities as
members of the COBB COUNTY
BOARD OF ELECTIONS AND
REGISTRATION;

THE COBB COUNTY BOARD OF
ELECTIONS AND REGISTRATION;

2017CV292233

MERLE KING, in his individual capacity
and his official capacity as Executive
Director of the CENTER FOR ELECTION
SYSTEMS AT KENNESAW STATE
UNIVERSITY; and

THE CENTER FOR ELECTION
SYSTEMS AT KENNESAW STATE
UNIVERSITY

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Defendants.

 

SUMMONS

To the above-named Defendant:

You are hereby summoned and required to file electronically with the clerk of
the SUPERIOR COURT OF FULTON COUNTY at
https://efilega.tylerhost.net/ofsweb and serve upon Plaintiffs’ attorney, whose
address is 3399 Peachtree Road, NE #400 Atlanta, GA 30326, an answer to the
VERIFIED COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE
RELIEF, AND WRIT OF MANDAMUS (the “Verified Complaint”), attached.

You have 30 days after service of this Summons and attached Verified
Complaint upon you to file your answer with the Superior Court of Fulton
County, exclusive of the day of service; unless proof of service of this complaint is
not filed within five (5) business days of such service. If you fail to do so, the Court
will issue a default judgement against you for the relief demanded in the
Verified Complaint.

This $RD day of _ JULY 2017
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Honorable Cathelene “Tina” Robinson
Clerk of Superior Court

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Deputy Clerk
To the Defendant upon whom this petition is served:

This copy of the Verified Complaint and Summons was served upon you this
day of 2017.

 

Deputy Sherriff
